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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      No. 1:21-cr-175-1 (TJK)
          v.                                 :
                                             :
ETHAN NORDEAN,                               :
                                             :
                                             :
                      Defendant.             :


                                            ORDER

       Upon consideration of the government’s Motion to Compel Expert Notice, it is this ___

day of January, 2023, ORDERED that the motion is GRANTED. The potential expert testimony

identified by Nordean is of the type that requires notice to the government under Fed. R. Crim. P.

16. Nordean shall provide notice that complies with that rule no later than January 9, 2023.

       SO ORDRED.



       __________                                   __________________________________
       Date                                         Timothy J. Kelly
                                                    United States District Judge
